                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )      Case No. 16-00150-12-CR-W-DGK
                                             )
JAKE IAN NIXON,                              )
                                             )
                      Defendant.             )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72.1(e)(27),

and 28 U.S.C. § 636 and entered a plea of guilty pursuant to Fed.R.Crim.P. 11(c)(1)(B) to Counts

One, Three and Four of the Superseding Indictment. The Defendant also admitted the allegations

of forfeiture, which include a money judgment to be entered against the Defendant, as contained in

the Superseding Indictment. I determined that the guilty plea is knowledgeable and voluntary and

that the offenses charged are supported by an independent basis in fact containing each of the

essential elements of such offenses. A record was made of the proceedings and a transcript is

available. I therefore recommend that the plea of guilty be accepted and that the Defendant be

adjudged guilty and have sentence imposed accordingly.

       Failure to file written objections to this Report and Recommendation within fourteen days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1).


                                                          /s/ Sarah W. Hays
                                                         SARAH W. HAYS
                                                 UNITED STATES MAGISTRATE JUDGE



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